     Case 19-40976-elm13 Doc 12 Filed 03/19/19                            Entered 03/19/19 17:45:55              Page 1 of 19
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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION
In re: Kaye Yecal Bealer                          xxx-xx-9960             §          Case No:     19-40976-elm-13
       2947 Montalbo                                                      §
                                                                                     Date:        3/19/2019
       Grand Prairie, TX 75054                                            §
                                                                          §          Chapter 13
                                                                          §




                                  Debtor(s)




                                                  DEBTOR'S(S') CHAPTER 13 PLAN
                                              (CONTAINING A MOTION FOR VALUATION)

                                                            DISCLOSURES

    This Plan does not contain any Nonstandard Provisions.

    This Plan contains Nonstandard Provisions listed in Section III.

    This Plan does not limit the amount of a secured claim based on a valuation of the Collateral for the claim.

    This Plan does limit the amount of a secured claim based on a valuation of the Collateral for the claim.

This Plan does not avoid a security interest or lien.

Language in italicized type in this Plan shall be as defined in the "General Order 2017-01, Standing Order Concerning Chapter 13
Cases" and as it may be superseded or amended ("General Order"). All provisions of the General Order shall apply to this Plan
as if fully set out herein.




                                                                 Page 1
Plan Payment:    $5,110.00                      Value of Non-exempt property per § 1325(a)(4):      $27,000.00
Plan Term:     59 months                        Monthly Disposable Income per § 1325(b)(2):         $0.00
Plan Base:    $301,490.00                       Monthly Disposable Income x ACP ("UCP"):          $0.00
Applicable Commitment Period: 60 months
     Case 19-40976-elm13 Doc 12 Filed 03/19/19                             Entered 03/19/19 17:45:55                 Page 2 of 19
Case No:      19-40976-elm-13
Debtor(s):    Kaye Yecal Bealer




                                                        MOTION FOR VALUATION

Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby move(s) the Court to value the
Collateral described in Section I, Part E.(1) and Part F of the Plan at the lesser of the value set forth therein or any value claimed on
the proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee's pre-hearing
conference regarding Confirmation or shall be deemed waived.


                                                        SECTION I
                                    DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                                   FORM REVISED 7/1/17

A.   PLAN PAYMENTS:
          Debtor(s) propose(s) to pay to the Trustee the sum of:
             $5,110.00     per month, months    1       to   59    .

          For a total of    $301,490.00     (estimated " Base Amount ").

          First payment is due      4/4/2019        .

          The applicable commitment period ("ACP") is        60   months.

          Monthly Disposable Income ("DI") calculated by Debtor(s) per § 1325(b)(2) is:          $0.00          .

          The Unsecured Creditors' Pool ("UCP"), which is DI x ACP, as estimated by the Debtor(s), shall be no less than:
               $0.00      .

          Debtor's(s') equity in non-exempt property, as estimated by Debtor(s) per § 1325(a)(4), shall be no less than:
            $27,000.00        .

B. STATUTORY, ADMINISTRATIVE AND DSO CLAIMS:

     1.   CLERK'S FILING FEE: Total filing fees paid through the Plan, if any, are            $0.00           and shall be paid in full
          prior to disbursements to any other creditor.

     2.   STATUTORY TRUSTEE'S PERCENTAGE FEE(S) AND NOTICING FEES: Trustee's Percentage Fee(s) and any
          noticing fees shall be paid first out of each receipt as provided in General Order 2017-01 (as it may be superseded or
          amended) and 28 U.S.C. § 586(e)(1) and (2).

     3.   DOMESTIC SUPPORT OBLIGATIONS: The Debtor is responsible for paying any Post-petition Domestic Support
          Obligation directly to the DSO claimant. Pre-petition Domestic Support Obligations per Schedule "E/F" shall be paid in
          the following monthly payments:


                      DSO CLAIMANTS                           SCHED. AMOUNT            %        TERM (APPROXIMATE)              TREATMENT
                                                                                                 (MONTHS __ TO __)              $__ PER MO.

C. ATTORNEY FEES: To                        Leinart Law Firm               , total:         $3,700.00     ;
       $0.00    Pre-petition;             $3,700.00    disbursed by the Trustee.




                                                                  Page 2
     Case 19-40976-elm13 Doc 12 Filed 03/19/19                            Entered 03/19/19 17:45:55               Page 3 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer


D.(1) PRE-PETITION MORTGAGE ARREARAGE:

               MORTGAGEE                          SCHED.              DATE               %       TERM (APPROXIMATE)          TREATMENT
                                                 ARR. AMT        ARR. THROUGH                     (MONTHS __ TO __)
Rushmore Lms                                       $15,646.53         3/1/2019          0.00%        Month(s) 1-56                  Pro-Rata
2947 Montalbo Grand Prairie, TX 75054

D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY THE TRUSTEE IN A CONDUIT CASE:

                       MORTGAGEE                                  # OF PAYMENTS            CURRENT POST-              FIRST CONDUIT
                                                                 PAID BY TRUSTEE         PETITION MORTGAGE          PAYMENT DUE DATE
                                                                                          PAYMENT AMOUNT                (MM-DD-YY)
Rushmore Lms                                                           58 month(s)                    $2,572.51                  6/1/2019
2947 Montalbo Grand Prairie, TX 75054

D.(3) POST-PETITION MORTGAGE ARREARAGE:

               MORTGAGEE                           TOTAL           DUE DATE(S)           %       TERM (APPROXIMATE)          TREATMENT
                                                    AMT.           (MM-DD-YY)                     (MONTHS __ TO __)
Rushmore Lms                                         $5,145.02     4/1/2019 and         0.00%        Month(s) 1-56                  Pro-Rata
2947 Montalbo Grand Prairie, TX 75054                                 5/1/2019

E.(1) SECURED CREDITORS - PAID BY THE TRUSTEE:

A.

                 CREDITOR /                    SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)          TREATMENT
                COLLATERAL                                                                        (MONTHS __ TO __)            Per Mo.

B.

                 CREDITOR /                    SCHED. AMT.            VALUE             %                                    TREATMENT
                COLLATERAL                                                                                                     Pro-rata

Internal Revenue Service                           $75,000.00         $75,000.00       4.00%                                        Pro-Rata
Equitable Value of Assets

To the extent the value amount in E.(1) is less than the scheduled amount in E.(1), the creditor may object. In the event a creditor
objects to the treatment proposed in paragraph E.(1), the Debtor(s) retain(s) the right to surrender the Collateral to the creditor in
satisfaction of the creditor's claim.

E.(2) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE - NO CRAM DOWN:

A.
                          CREDITOR /                              SCHED. AMT.           %        TERM (APPROXIMATE)          TREATMENT
                         COLLATERAL                                                               (MONTHS __ TO __)            Per Mo.

B.
                          CREDITOR /                              SCHED. AMT.           %                                    TREATMENT
                         COLLATERAL                                                                                            Pro-rata

Fort Worth Community C                                                 $6,924.81       8.75%                                        Pro-Rata
2012 Mazda 3




                                                                 Page 3
     Case 19-40976-elm13 Doc 12 Filed 03/19/19                            Entered 03/19/19 17:45:55               Page 4 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer



The valuation of Collateral set out in E.(1) and the interest rate to be paid on the above scheduled claims in E.(1) and E.(2) will
be finally determined at confirmation. The allowed claim amount will be determined based on a timely filed proof of claim and
the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection to claim.

Absent any objection to the treatment described in E.(1) or E.(2), the creditor(s) listed in E.(1) and E.(2) shall be deemed to have
accepted the Plan per section 1325(a)(5)(A) of the Bankruptcy Code and to have waived its or their rights under section
1325(a)(5)(B) and (C) of the Bankruptcy Code.

F.   SECURED CREDITORS - COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                 SCHED. AMT.           VALUE                   TREATMENT
                           COLLATERAL

Upon confirmation, pursuant to 11 U.S.C. § 1322(b)(8), the surrender of the Collateral described herein will provide for the
payment of all or part of a claim against the Debtor(s) in the amount of the value given herein.

The valuation of Collateral in F will be finally determined at confirmation. The allowed claim amount will be determined based
on a timely filed proof of claim and the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection
to claim.

The Debtor(s) request(s) that the automatic stay be terminated as to the surrendered Collateral. If there is no objection to the
surrender, the automatic stay shall terminate and the Trustee shall cease disbursements on any secured claim which is
secured by the Surrendered Collateral, without further order of the Court, on the 7th day after the date the Plan is filed. However,
the stay shall not be terminated if the Trustee or affected secured lender files an objection in compliance with paragraph 8 of the
General Order until such objection is resolved.

Nothing in this Plan shall be deemed to abrogate any applicable non-bankruptcy statutory or contractual rights of the Debtor(s).

G. SECURED CREDITORS - PAID DIRECT BY DEBTOR:

                         CREDITOR                                                   COLLATERAL                              SCHED. AMT.

Tarrant County Tax Assessor                                   2947 Montalbo Grand Prairie, TX 75054                              $7,684.19

H. PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                                CREDITOR                                       SCHED. AMT.      TERM (APPROXIMATE)           TREATMENT
                                                                                                 (MONTHS __ TO __)

I.   SPECIAL CLASS:

                                CREDITOR                                       SCHED. AMT.      TERM (APPROXIMATE)           TREATMENT
                                                                                                 (MONTHS __ TO __)

JUSTIFICATION:



J.   UNSECURED CREDITORS:

                        CREDITOR                              SCHED. AMT.                               COMMENT
Aaa Debt Rec                                                           $0.00
Aes/pheaa Rehabs                                                     $898.00
Aes/pheaa Rehabs                                                     $897.00
Ally Financial                                                         $0.00
AmeriCredit/GM Financial                                               $0.00
Amex                                                                   $0.00
Amex                                                                   $0.00
Anheuser-Busch Employees Credit Union                                  $0.00

                                                                 Page 4
       Case 19-40976-elm13 Doc 12 Filed 03/19/19      Entered 03/19/19 17:45:55   Page 5 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer


Barclays Bank Delaware                             $0.00
Capital Bank                                       $0.00
Capital One                                        $0.00
Capital One                                        $0.00
Capital One                                        $0.00
Capital One / Saks F                               $0.00
CarMax Auto Finance                                $0.00
Chase Card Services                                $0.00
Chrysler Financial/TD Auto                         $0.00
Citicards Cbna                                     $0.00
Clearview Cu                                       $0.00
Comenity Bank                                      $0.00
Comenity Bank/Ann Taylor                           $0.00
Comenity bank/J Crew                               $0.00
Comenity Bank/Overstock                         $769.00
Comenity Bank/Restoreration Hardware               $0.00
Comenity Bank/Victoria Secret                      $0.00
Comenity Bank/Wayfair                              $0.00
Comenity Bank/Woman Within                         $0.00
Comenity Bank/womnwt                               $0.00
Comenity Bank/Z Gallerie                           $0.00
Comenitybank/westelm                               $0.00
Compass Bank                                       $0.00
Compass Bank                                       $0.00
Credit One Bank                               $1,943.00
Credit One Bank                                    $0.00
Credit Systems International, Inc                  $0.00
Discover Financial                              $667.00
First Electronic Bank                              $0.00
Genesis Bc/celtic Bank                             $0.00
Haverty's Credit Services                          $0.00
Haverty's Credit Services                          $0.00
Haverty's Credit Services                          $0.00
Kohls/Capital One                                  $0.00
Mercury/FBT                                        $0.00
Neighborhood Credit Union                       $390.00
Neighborhood Credit Union                          $0.00
Nordstrom FSB                                      $0.00
ollo                                          $1,330.00
Public Savings Bank                                $0.00
Rosssmns/cbna                                      $0.00
RoundPoint Mortgage Servicing Corporatio           $0.00
Synchrony Bank/Amazon                              $0.00
Synchrony Bank/Care Credit                         $0.00
Synchrony Bank/TJX                                 $0.00



                                             Page 5
     Case 19-40976-elm13 Doc 12 Filed 03/19/19                              Entered 03/19/19 17:45:55                Page 6 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer


Synchrony Bank/Walmart                                                    $0.00
Target                                                                    $0.00
Texas Trust Credit Uni                                                    $0.00
United Revenue Corp                                                       $0.00
Visa Dept Store National Bank/Macy's                                      $0.00
Wells Fargo Bank                                                          $0.00
Wells Fargo Hm Mortgag                                                    $0.00

TOTAL SCHEDULED UNSECURED:                                           $6,894.00

The Debtor's(s') estimated (but not guaranteed) payout to unsecured creditors based on the scheduled amount is ____________.
                                                                                                                    100%

General unsecured claims will not receive any payment until after the order approving the TRCC becomes final.
K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                    § 365 PARTY                        ASSUME/REJECT          CURE AMOUNT         TERM (APPROXIMATE)            TREATMENT
                                                                                                   (MONTHS __ TO __)

                                                        SECTION II
                                    DEBTOR'S(S') CHAPTER 13 PLAN - GENERAL PROVISIONS
                                                    FORM REVISED 7/1/17
A.   SUBMISSION OF DISPOSABLE INCOME:

Debtor(s) hereby submit(s) future earnings or other future income to the Trustee to pay the Base Amount.

B. ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY PERCENTAGE FEE(S) AND
   NOTICING FEES:

The Statutory Percentage Fees of the Trustee shall be paid in full pursuant to 11 U.S.C. §§ 105(a), 1326(b)(2), and 28 U.S.C.
§ 586(e)(1)(B). The Trustee is authorized to charge and collect Noticing Fees as indicated in Section I, Part "B" hereof.

C. ATTORNEY FEES:

Debtor's(s') Attorney Fees totaling the amount indicated in Section I, Part C, shall be disbursed by the Trustee in the amount
shown as "Disbursed By The Trustee" pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection
Disbursements ("AAPD "), if filed.

D.(1) PRE-PETITION MORTGAGE ARREARAGE:

The Pre-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed pre-petition arrearage amount and at the rate of
interest indicated in Section I, Part D.(1). To the extent interest is provided, it will be calculated from the date of the Petition. The
principal balance owing upon confirmation of the Plan on the allowed pre-petition Mortgage Arrearage amount shall be reduced
by the total adequate protection less any interest (if applicable) paid to the creditor by the Trustee. Such creditors shall retain
their liens.

D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY TRUSTEE IN A CONDUIT CASE:
Current Post-Petition Mortgage Payment(s) shall be paid by the Trustee as indicated in Section I, Part D.(2), or as otherwise
provided in the General Order.

The Current Post-Petition Mortgage Payment(s) indicated in Section I, Part D.(2) reflects what the Debtor(s) believe(s) is/are the
periodic payment amounts owed to the Mortgage Lender as of the date of the filing of this Plan. Adjustment of the Plan Payment
and Base Amount shall be calculated as set out in the General Order, paragraph 15(c)(3).

Payments received by the Trustee for payment of the Debtor's Current Post-Petition Mortgage Payment(s) shall be deemed
adequate protection to the creditor.

Upon completion of the Plan, Debtor(s) shall resume making the Current Post-Petition Mortgage Payments required by their
contract on the due date following the date specified in the Trustee's records as the date through which the Trustee made the
last Current Post-Petition Mortgage Payment.



                                                                   Page 6
        Case 19-40976-elm13 Doc 12 Filed 03/19/19                           Entered 03/19/19 17:45:55                Page 7 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer


Unless otherwise ordered by the Court, and subject to Bankruptcy Rule 3002.1(f)-(h), if a Conduit Debtor is current on his/her
Plan Payments or the payment(s) due pursuant to any wage directive, the Mortgage Lender shall be deemed current post-petition.

D.(3) POST-PETITION MORTGAGE ARREARAGE:

The Post-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed amount and at the rate of interest indicated in
Section I, Part D.(3). To the extent interest is provided, it will be calculated from the date of the Petition.

Mortgage Lenders shall retain their liens.

E.(1)    SECURED CLAIMS TO BE PAID BY TRUSTEE:

The claims listed in Section I, Part E.(1) shall be paid by the Trustee as secured to the extent of the lesser of the allowed claim
amount (per a timely filed Proof of Claim not objected to by a party in interest) or the value of the Collateral as stated in the Plan.
Any amount claimed in excess of the value shall automatically be split and treated as unsecured as indicated in Section I, Part H
or J, per 11 U.S.C. § 506(a). Such creditors shall retain their liens on the Collateral described in Section I, Part E.(1) as set out in
11 U.S.C. § 1325(a)(5)(B)(I) and shall receive interest at the rate indicated from the date of confirmation or, if the value shown is
greater than the allowed claim amount, from the date of the Petition, up to the amount by which the claim is over-secured. The
principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate
protection payments less any interest (if applicable) paid to the creditor by the Trustee.

E.(2)    SECURED 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN:

Claims in Section I, Part E.(2) are either debts incurred within 910 days of the Petition Date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the Debtor(s) or debts incurred within one year of the
Petition Date secured by any other thing of value.

The claims listed in Section I, Part E.(2) shall be paid by the Trustee as fully secured to the extent of the allowed amount (per a
timely filed Proof of Claim not objected to by a party in interest). Such creditors shall retain their liens on the Collateral described
in Section I, Part E.(2) until the earlier of the payment of the underlying debt determined under non-bankruptcy law or a discharge
under § 1328 and shall receive interest at the rate indicated from the date of confirmation. The principal balance owing upon
confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate protection payments paid to the
creditor by the Trustee.

To the extent a secured claim not provided for in Section I, Part D, E.(1) or E.(2) is allowed by the Court, Debtor(s) will pay the
claim direct per the contract or statute.

Each secured claim shall constitute a separate class.

F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL:

The claims listed in Section I, Part F shall be satisfied as secured to the extent of the value of the Collateral , as stated in the
Plan , by surrender of the Collateral by the Debtor(s) on or before confirmation. Any amount claimed in excess of the value of the
Collateral , to the extent it is allowed, shall be automatically split and treated as indicated in Section I, Part H or J, per
11 U.S.C. § 506(a).
Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S):
Payments on all secured claims listed in Section I, Part G shall be disbursed by the Debtor(s) to the claimant in accordance with
the terms of their agreement or any applicable statute, unless otherwise provided in Section III, "Nonstandard Provisions."

No direct payment to the IRS from future income or earnings in accordance with 11 U.S.C. § 1322(a)(1) will be permitted.

Each secured claim shall constitute a separate class.

H. PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

Failure to object to confirmation of this Plan shall not be deemed acceptance of the "SCHED. AMT." shown in Section I, Part H.
The claims listed in Section I, Part H shall be paid their allowed amount by the Trustee, in full, pro-rata, as priority claims, without
interest.

I.   CLASSIFIED UNSECURED CLAIMS:

Classified unsecured claims shall be treated as allowed by the Court.

                                                                   Page 7
     Case 19-40976-elm13 Doc 12 Filed 03/19/19                             Entered 03/19/19 17:45:55                Page 8 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer


J.   GENERAL UNSECURED CLAIMS TIMELY FILED:

All other allowed claims not otherwise provided for herein shall be designated general unsecured claims.

K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

As provided in § 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assume(s) or reject(s) the executory contracts or unexpired
leases with parties as indicated in Section I, Part K.

Assumed lease and executory contract arrearage amounts shall be disbursed by the Trustee as indicated in Section I, Part K.

L.   CLAIMS TO BE PAID:

"TERM (APPROXIMATE)" as used in this Plan states the estimated number of months from the Petition Date required to fully pay
the allowed claim. If adequate protection payments have been authorized and made, they will be applied to principal as to both
under-secured and fully secured claims and allocated between interest and principal as to over-secured claims. Payment
pursuant to this Plan will only be made on statutory, secured, administrative, priority and unsecured claims that are allowed or,
pre-confirmation, that the Debtor(s) has/have authorized in a filed Authorization for Adequate Protection Disbursements.

M. ADDITIONAL PLAN PROVISIONS:
Any additional Plan provisions shall be set out in Section III, "Nonstandard Provisions."

N. POST-PETITION NON-ESCROWED AD VALOREM (PROPERTY) TAXES AND INSURANCE:

Whether the Debtor is a Conduit Debtor or not, if the regular payment made by the Debtor to a Mortgage Lender or any other
lienholder secured by real property does not include an escrow for the payment of ad valorem (property) taxes or insurance, the
Debtor is responsible for the timely payment of post-petition taxes directly to the tax assessor and is responsible for maintaining
property insurance as required by the mortgage security agreement, paying all premiums as they become due directly to the
insurer. If the Debtor fails to make these payments, the mortgage holder may, but is not required to, pay the taxes and/or the
insurance. If the mortgage holder pays the taxes and/or insurance, the mortgage holder may file, as appropriate, a motion for
reimbursement of the amount paid as an administrative claim or a Notice of Payment Change by Mortgage Lender or a Notice of
Fees, Expenses, and Charges.

O. CLAIMS NOT FILED:

A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.

P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR
     PUNITIVE DAMAGES:

Any unsecured claim for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages, expressly
including an IRS penalty to the date of the petition on unsecured and/or priority claims, shall be paid only a pro-rata share of any
funds remaining after all other unsecured claims, including late filed claims, have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST:
No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R. BUSINESS CASE OPERATING REPORTS:

Upon the filing of the Trustee's 11 U.S.C. § 1302(c) Business Case Report, business Debtors are no longer required to file
operating reports with the Trustee, unless the Trustee requests otherwise. The filing of the Trustee's 11 U.S.C. § 1302(c)
Business Case Report shall terminate the Trustee's duties but not the Trustee's right to investigate or monitor the Debtor's(s')
business affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST-CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRE-CONFIRMATION OPERATIONS:

The Trustee shall not be liable for any claim arising from the post-confirmation operation of the Debtor's(s') business. Any
claims against the Trustee arising from the pre-confirmation operation of the Debtor's(s') business must be filed with the
Bankruptcy Court within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation or be barred.




                                                                  Page 8
     Case 19-40976-elm13 Doc 12 Filed 03/19/19                             Entered 03/19/19 17:45:55                Page 9 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer


T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY; RE-VESTING OF PROPERTY; NON-LIABILITY OF TRUSTEE FOR
     PROPERTY IN POSSESSION OF DEBTOR WHERE DEBTOR HAS EXCLUSIVE RIGHT TO USE, SELL, OR LEASE IT; AND
     TRUSTEE PAYMENTS UPON POST CONFIRMATION CONVERSION OR DISMISSAL:

Debtor(s) shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior
to discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.

Property of the estate shall not vest in the Debtor until such time as a discharge is granted or the Case is dismissed or closed
without discharge. Vesting shall be subject to all liens and encumbrances in existence when the Case was filed and all valid
post-petition liens, except those liens avoided by court order or extinguished by operation of law. In the event the Case is
converted to a case under chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate shall vest in accordance with
applicable law. After confirmation of the Plan, the Trustee shall have no further authority, fiduciary duty or liability regarding the
use, sale, insurance of or refinance of property of the estate except to respond to any motion for the proposed use, sale, or
refinance of such property as required by the applicable laws and/or rules. Prior to any discharge or dismissal, the Debtor(s)
must seek approval of the court to purchase, sell, or refinance real property.

Upon dismissal of the Case post confirmation, the Trustee shall disburse all funds on hand in accordance with this Plan. Upon
conversion of the Case, any balance on hand will be disbursed by the Trustee in accordance with applicable law.

U. ORDER OF PAYMENT:

Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee after the entry of an
order confirming the Chapter 13 Plan, whether pursuant to this Plan or a modification thereof, will be paid in the order set out
below, to the extent a creditor's claim is allowed or the disbursement is otherwise authorized. Each numbered paragraph below
is a level of payment. All disbursements which are in a specified monthly amount are referred to as "per mo." At the time of any
disbursement, if there are insufficient funds on hand to pay any per mo payment in full, claimant(s) with a higher level of payment
shall be paid any unpaid balance owed on a per mo payment plus the current per mo payment owed to that same claimant, in
full, before any disbursement to a claimant with a lower level of payment. If multiple claimants are scheduled to receive per mo
payments within the same level of payment and there are insufficient funds to make those payments in full, available funds will
be disbursed to the claimants within that level on a pro-rata basis. Claimants with a higher level of payment which are
designated as receiving pro-rata payments shall be paid, in full, before any disbursements are made to any claimant with a
lower level of payment.

1st -- Clerk's Filing Fee and Trustee's Percentage Fee(s) and Noticing Fees in B.(1) and B.(2) and per statutory provisions will
be paid in full.

2nd -- Current Post-Petition Mortgage Payments (Conduit) in D.(2) and as adjusted according to the General Order, which must
be designated to be paid per mo.

3rd -- Creditors listed in E.(1)(A) and E.(2)(A), which must be designated to be paid per mo, and Domestic Support Obligations
("DSO") in B.(3), which must be designated to be paid per mo.

4th -- Attorney Fees in C, which must be designated to be paid pro-rata.

5th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid per mo.

6th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid pro-rata.

7th -- Arrearages owed on Executory Contracts and Unexpired Leases in K, which must be designated to be paid per mo.

8th -- Any Creditors listed in D.(1), if designated to be paid per mo.

9th -- Any Creditors listed in D.(1), if designated to be paid pro-rata and/or Creditors listed in E.(1)(B) or E.(2)(B), which must be
designated to be paid pro-rata.

10th -- All amounts allowed pursuant to a Notice of Fees, Expenses and Charges, which will be paid pro-rata.
11th -- Priority Creditors Other than Domestic Support Obligations ("Priority Creditors") in H, which must be designated to be
paid pro-rata.




                                                                  Page 9
     Case 19-40976-elm13 Doc 12 Filed 03/19/19                          Entered 03/19/19 17:45:55                Page 10 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer


12th -- Special Class in I, which must be designated to be paid per mo.

13th -- Unsecured Creditors in J, other than late filed or penalty claims, which must be designated to be paid pro-rata.

14th -- Late filed claims by Secured Creditors in D.(1), D.(2), D.(3), E.(1) and E.(2), which must be designated to be paid pro-rata,
unless other treatment is authorized by the Court.

15th -- Late filed claims for DSO or filed by Priority Creditors in B.(3) and H, which must be designated to be paid pro-rata.

16th -- Late filed claims by Unsecured Creditors in J, which must be designated to be paid pro-rata.

17th -- Unsecured claims for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages,
expressly including an IRS penalty to the date of the petition on unsecured and/or priority claims. These claims must be
designated to be paid pro-rata.


V.   POST-PETITION CLAIMS:

Claims filed under § 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor(s) will modify this Plan.

W. TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE:

See the provisions of the General Order regarding this procedure.




                                                                Page 10
    Case 19-40976-elm13 Doc 12 Filed 03/19/19                          Entered 03/19/19 17:45:55                Page 11 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer


                                                         SECTION III
                                                   NONSTANDARD PROVISIONS

The following nonstandard provisions, if any, constitute terms of this Plan. Any nonstandard provision placed elsewhere in the
Plan is void.
None.
I, the undersigned, hereby certify that the Plan contains no nonstandard provisions other than those set out in this final paragraph.

/s/ Marcus Leinart
Marcus Leinart, Debtor's(s') Attorney                                     Debtor (if unrepresented by an attorney)


Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) is respectfully submitted.

/s/ Marcus Leinart                                                        00794156
Marcus Leinart, Debtor's(s') Counsel                                      State Bar Number




                                                               Page 11
    Case 19-40976-elm13 Doc 12 Filed 03/19/19                         Entered 03/19/19 17:45:55                  Page 12 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer




                                                    CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that the foregoing Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) was served on
the following entities either by Electronic Service or by First Class Mail, Postage Pre-paid on the   19th day of March, 2019        :

(List each party served, specifying the name and address of each party)


Dated:             March 19, 2019                                         /s/ Marcus Leinart
                                                                          Marcus Leinart, Debtor's(s') Counsel

Aaa Debt Rec                                      Amex                                              Capital One
xx8468                                            xxxxxxxxxxxx2943                                  xxxxxxxxxxxx3089
Pob 129                                           Correspondence/Bankruptcy                         Attn: Bankruptcy
Monroeville, PA 15146                             PO Box 981540                                     PO Box 30285
                                                  El Paso, TX 79998                                 Salt Lake City, UT 84130


Aes/pheaa Rehabs                                  Anheuser-Busch Employees Credit                   Capital One / Saks F
xxxxxxxxxxxxx0001                                 Union                                             xxxxxx1872
Attn: Bankruptcy Dept                             xxxx1501                                          Attn: Bankruptcy
PO Box 2461                                       Attn: Bankruptcy                                  PO Box 30285
Harrisburg, PA 17105                              1001 Lynch St                                     Salt Lake City, UT 84130
                                                  St Louis, MO 63118

Aes/pheaa Rehabs                                  Barclays Bank Delaware                            CarMax Auto Finance
xxxxxxxxxxxxx0002                                 xxxxxxxxxxx2521                                   xxxx0083
Attn: Bankruptcy Dept                             Attn: Correspondence                              Attn: Bankruptcy
PO Box 2461                                       PO Box 8801                                       PO Box 440609
Harrisburg, PA 17105                              Wilmington, DE 19899                              Kennesaw, GA 30160


Ally Financial                                    Capital Bank                                      Chase Card Services
xxxxxxxx9058                                      xxxxxxxxxxxx5455                                  xxxxxxxxxxxx1579
Attn: Bankruptcy Dept                             Attn: Bankruptcy                                  Attn: Bankruptcy
PO Box 380901                                     1 Church St. # 300                                PO Box 15298
Bloomington, MN 55438                             Rockville, MD 20850                               Wilmington, DE 19850


AmeriCredit/GM Financial                          Capital One                                       Chrysler Financial/TD Auto
xxxxx7579                                         xxxxxxxxxxxx5700                                  xxxxxx7443
Attn: Bankruptcy                                  Attn: Bankruptcy                                  Attn: Bankruptcy
PO Box 183853                                     PO Box 30285                                      PO Box 9223
Arlington, TX 76096                               Salt Lake City, UT 84130                          Farmington Hills, MI 48333


Amex                                              Capital One                                       Citicards Cbna
xxxxxxxxxxxx5883                                  xxxxxxxxxxxx6679                                  xxxxxxxxxxxx4253
Correspondence/Bankruptcy                         Attn: Bankruptcy                                  Citi Bank
PO Box 981540                                     PO Box 30285                                      PO Box 6077
El Paso, TX 79998                                 Salt Lake City, UT 84130                          Sioux Falls, SD 57117




                                                               Page 12
    Case 19-40976-elm13 Doc 12 Filed 03/19/19      Entered 03/19/19 17:45:55    Page 13 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer


Clearview Cu                      Comenity Bank/Woman Within           Credit Systems International, Inc
xxxxxxxx0001                      xxxxx5617                            xxxxx7393
Attn: Bankruptcy                  Attn: Bankruptcy                     Attn: Bankruptcy
8805 University Blvd              PO Box 182125                        PO Box 1088
Moon Township, PA 15108           Columbus, OH 43218                   Arlington, TX 76004


Comenity Bank                     Comenity Bank/womnwt                 Discover Financial
xxxxxxxxxxxx6914                  xxxxx6274                            xxxxxxxxxxxx4676
Attn: Bankruptcy                  Attn: Bankruptcy                     PO Box 3025
PO Box 182125                     PO Box 182125                        New Albany, OH 43054
Columbus, OH 43218                Columbus, OH 43218


Comenity Bank/Ann Taylor          Comenity Bank/Z Gallerie             First Electronic Bank
xxxxxxxxxxxx1627                  xxxxxxxxxxxx8969                     xxxxxxxxxxxx1547
Attn: Bankruptcy Dept             Attn: Bankruptcy                     Attn: Bankruptcy
PO Box 182125                     PO Box 182125                        PO Box 521271
Columbus, OH 43218                Columbus, OH 43218                   Salt Lake City, UT 84152


Comenity bank/J Crew              Comenitybank/westelm                 Fort Worth Community C
xxxxxxxxxxxx0724                  xxxxxxxxxxxx2927                     xxxxxx0143
Attn: Bankruptcy                  Attn: Bankruptcy Dept                PO Box 210848
PO Box 182125                     PO Box 182125                        Bedford, TX 76095
Columbus, OH 43218                Columbus, OH 43218


Comenity Bank/Overstock           Compass Bank                         Genesis Bc/celtic Bank
xxxxxxxxxxxx2418                  xxxxxxxxxxxx9169                     xxxxxxxxxxxx5973
Attn: Bankruptcy                  Attn: Bankruptcy                     Attn: Bankruptcy
PO Box 182125                     PO Box 10566                         268 South State Street Ste 300
Columbus, OH 43218                Birmingham, AL 35296                 Salt Lake City, UT 84111


Comenity Bank/Restoreration       Compass Bank                         Haverty's Credit Services
Hardware                          xxxxxxxxxxxx6009                     xxxxxxxxxxxxx3601
xxxxxxxxxxxx0423                  Attn: Bankruptcy                     Attn: Bankruptcy
Attn: Bankruptcy                  PO Box 10566                         PO Box 5787
PO Box 182125                     Birmingham, AL 35296                 Chattanooga, TN 37406
Columbus, OH 43218

Comenity Bank/Victoria Secret     Credit One Bank                      Haverty's Credit Services
xxxxxxxxxxxx7131                  xxxxxxxxxxxx5205                     xxxxxxxxxxxxx3612
Attn: Bankruptcy                  ATTN: Bankruptcy Department          Attn: Bankruptcy
PO Box 182125                     PO Box 98873                         PO Box 5787
Columbus, OH 43218                Las Vegas, NV 89193                  Chattanooga, TN 37406


Comenity Bank/Wayfair             Credit One Bank                      Haverty's Credit Services
xxxxxxxxxxxx2908                  xxxxxxxxxxxx3360                     xxxxxxxxxxxxx4996
Attn: Bankruptcy Dept             ATTN: Bankruptcy Department          Attn: Bankruptcy
PO Box 182125                     PO Box 98873                         PO Box 5787
Columbus, OH 43218                Las Vegas, NV 89193                  Chattanooga, TN 37406




                                            Page 13
    Case 19-40976-elm13 Doc 12 Filed 03/19/19          Entered 03/19/19 17:45:55    Page 14 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer


Internal Revenue Service            Pam Bassel                             Synchrony Bank/Walmart
Centralized Insolvency Operations   7001 Blvd 26, Suite 150                xxxxxxxxxxxx5024
PO Box 7346                         North Richland Hills, TX 76180         Attn: Bankruptcy
Philadelphia, PA 19101-7346                                                PO Box 965060
                                                                           Orlando, FL 32896


Kaye Yecal Bealer                   Public Savings Bank                    Target
2947 Montalbo                       xxxxxxxxxxxx0422                       xxxxxxxxxxxx1569
Grand Prairie, TX 75054             2755 Philmont Ave                      Attn: Bankruptcy
                                    Huntingdon Valley, PA 19006            PO Box 9475
                                                                           Minneapolis, MN 55440


Kohls/Capital One                   Rosssmns/cbna                          Tarrant County Tax Assessor
xxxxxxxxxxxx0516                    xxxxxxxxxxxx8315                       xxxxxxxx3228
Kohls Credit                        Po Box 6497                            100 E. Weatherford
PO Box 3120                         Sioux Falls, SD 57117                  Ft. Worth, TX 76196
Milwaukee, WI 53201


Mercury/FBT                         RoundPoint Mortgage Servicing          Texas Trust Credit Uni
xxxxxxxxxxxx1111                    Corporatio                             xxxxxx0800
Attn: Bankruptcy                    xxxxxxxxx4501                          1900 Country Club Lane
PO Box 84064                        Attn: Bankruptcy                       Mansfield, TX 76063
Columbus, GA 31908                  PO Box 19409
                                    Charlotte, NC 28219

Neighborhood Credit Union           Rushmore Lms                           United Revenue Corp
xxxxxxxxxxxxx0031                   xxxxxxxxx7921                          xxx0474
Attn: Bankruptcy                    Attn: Bankruptcy                       204 Billings St
PO Box 803476                       PO Box 52706                           Suite 120
Dallas, TX 75380                    Irvine, CA 92619                       Arlington, TX 76010


Neighborhood Credit Union           Synchrony Bank/Amazon                  Visa Dept Store National Bank/Macy's
xxxxxxxx0050                        xxxxxxxxxxxx8779                       xxxxxxxx2590
Attn: Bankruptcy                    Attn: Bankruptcy                       Attn: Bankruptcy
PO Box 803476                       PO Box 965060                          PO Box 8053
Dallas, TX 75380                    Orlando, FL 32896                      Mason, OH 45040


Nordstrom FSB                       Synchrony Bank/Care Credit             Wells Fargo Bank
xxxxxxxxxxxx4019                    xxxxxxxxxxxx9563                       xxxxxxxxxxxx8001
ATTN: Bankruptcy                    Attn: Bankruptcy Dept                  Attn: Bankruptcy Dept
PO Box 6555                         PO Box 965060                          PO Box 6429
Englewood, CO 80155                 Orlando, FL 32896                      Greenville, SC 29606


ollo                                Synchrony Bank/TJX                     Wells Fargo Hm Mortgag
xxxxxxxxxxxx1301                    xxxxxxxxxxxx5147                       xxxxxxxxx6432
Attn: Bankruptcy                    Attn: Bankruptcy                       Po Box 10335
PO Box 9222                         PO Box 965060                          Des Moines, IA 50306
Old Bethpage, NY 11804              Orlando, FL 32896




                                               Page 14
      Case 19-40976-elm13 Doc 12 Filed 03/19/19                           Entered 03/19/19 17:45:55                      Page 15 of 19
Leinart Law Firm
11520 N. Central Expressway
Suite 212
Dallas, Texas 75243

Bar Number: 00794156
Phone: (469) 232-3328
                                           IN THE UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF TEXAS
                                                      FORT WORTH DIVISION
                                                             Revised 10/1/2016

IN RE: Kaye Yecal Bealer                           xxx-xx-9960      §      CASE NO: 19-40976-elm-13
       2947 Montalbo                                                §
       Grand Prairie, TX 75054                                      §
                                                                    §
                                                                    §




                                  Debtor(s)


AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                        3/19/2019
                                                                                                    DATED:________________
The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed as
indicated below:

 Periodic Payment Amount                                                                                                              $5,110.00

 Disbursements                                                                                    First (1)                  Second (2) (Other)

 Account Balance Reserve                                                                            $5.00               $5.00 carried forward

 Trustee Percentage Fee                                                                           $510.50                              $511.00

 Filing Fee                                                                                         $0.00                                $0.00

 Noticing Fee                                                                                      $70.35                                $0.00

 Subtotal Expenses/Fees                                                                           $585.85                              $511.00
 Available for payment of Adequate Protection, Attorney Fees and
 Current Post-Petition Mortgage Payments:                                                       $4,524.15                            $4,599.00


CREDITORS SECURED BY VEHICLES (CAR CREDITORS):
                                                                                                                Adequate              Adequate
                                                                           Scheduled            Value of        Protection           Protection
 Name                                 Collateral                             Amount            Collateral      Percentage       Payment Amount
 Fort Worth Community C               2012 Mazda 3                          $6,924.81          $7,650.00           1.25%                 $95.63

                                    Total Adequate Protection Payments for Creditors Secured by Vehicles:                                $95.63

CURRENT POST-PETITION MORTGAGE PAYMENTS (CONDUIT):

                                                                                              Scheduled          Value of
 Name                                 Collateral                            Start Date          Amount          Collateral      Payment Amount
 Rushmore Lms                         2947 Montalbo Grand Prairie, TX 75054 6/1/2019         $281,212.00      $360,000.00              $2,572.51

                                          Payments for Current Post-Petition Mortgage Payments (Conduit):                             $2,572.51




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        Case 19-40976-elm13 Doc 12 Filed 03/19/19                          Entered 03/19/19 17:45:55                 Page 16 of 19
Case No:     19-40976-elm-13
Debtor(s):   Kaye Yecal Bealer



 CREDITORS SECURED BY COLLATERAL OTHER THAN A VEHICLE:
                                                                                                            Adequate           Adequate
                                                                            Scheduled          Value of     Protection        Protection
   Name                                Collateral                             Amount          Collateral   Percentage    Payment Amount

                Total Adequate Protection Payments for Creditors Secured by Collateral other than a vehicle:                       $0.00

                                                TOTAL PRE-CONFIRMATION PAYMENTS

 First Month Disbursement (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13 Trustee
 Percentage Fee, and retention of the Account Balance Reserve):

      Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                         $0.00
      Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                             $95.63
      Debtor's Attorney, per mo:                                                                                              $3,700.00
      Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                                   $0.00

 Disbursements starting month 2 (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13
 Trustee Percentage Fee, and retention of the Account Balance Reserve):

      Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                     $2,572.51
      Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                             $95.63
      Debtor's Attorney, per mo:                                                                                                  $0.00
      Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                                   $0.00



 Order of Payment:

 Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee prior to entry of an
 order confirming the Chapter 13 Plan will be paid in the order set out above. All disbursements which are in a specified monthly
 amount are referred to as "per mo". At the time of any disbursement, if there are insufficient funds on hand to pay any per mo
 payment in full, claimant(s) with a higher level of payment shall be paid any unpaid balance owed on the per mo payment plus
 the current per mo payment owed to that same claimant, in full, before any disbursement to a claimant with a lower level of
 payment. Other than the Current Post-Petition Mortgage Payments, the principal balance owing upon confirmation of the Plan on
 the allowed secured claim shall be reduced by the total of adequate protection payments, less any interest (if applicable), paid to
 the creditor by the Trustee.



 DATED:________________________
         3/19/2019

 /s/ Marcus Leinart
 Attorney for Debtor(s)




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        Case 19-40976-elm13 Doc 12 Filed 03/19/19                    Entered 03/19/19 17:45:55              Page 17 of 19


                                        UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION

  IN RE:    Kaye Yecal Bealer                                                       CASE NO.     19-40976-elm-13

                                                                                   CHAPTER       13

                                                    Certificate of Service


I hereby certify that on this date, I did serve a true and correct copy of the foregoing to the following interested parties and
those listed on the attached matrix by United States Mail, First Class:

Date:      3/19/2019                                              /s/ Marcus Leinart
                                                                  Marcus Leinart
                                                                  Attorney for the Debtor(s)


Aaa Debt Rec                                   Barclays Bank Delaware                          Chrysler Financial/TD Auto
Pob 129                                        Attn: Correspondence                            Attn: Bankruptcy
Monroeville, PA 15146                          PO Box 8801                                     PO Box 9223
                                               Wilmington, DE 19899                            Farmington Hills, MI 48333



Aes/pheaa Rehabs                               Capital Bank                                    Citicards Cbna
Attn: Bankruptcy Dept                          Attn: Bankruptcy                                Citi Bank
PO Box 2461                                    1 Church St. # 300                              PO Box 6077
Harrisburg, PA 17105                           Rockville, MD 20850                             Sioux Falls, SD 57117



Ally Financial                                 Capital One                                     Clearview Cu
Attn: Bankruptcy Dept                          Attn: Bankruptcy                                Attn: Bankruptcy
PO Box 380901                                  PO Box 30285                                    8805 University Blvd
Bloomington, MN 55438                          Salt Lake City, UT 84130                        Moon Township, PA 15108



AmeriCredit/GM Financial                       Capital One / Saks F                            Comenity Bank
Attn: Bankruptcy                               Attn: Bankruptcy                                Attn: Bankruptcy
PO Box 183853                                  PO Box 30285                                    PO Box 182125
Arlington, TX 76096                            Salt Lake City, UT 84130                        Columbus, OH 43218



Amex                                           CarMax Auto Finance                             Comenity Bank/Ann Taylor
Correspondence/Bankruptcy                      Attn: Bankruptcy                                Attn: Bankruptcy Dept
PO Box 981540                                  PO Box 440609                                   PO Box 182125
El Paso, TX 79998                              Kennesaw, GA 30160                              Columbus, OH 43218



Anheuser-Busch Employees Credit                Chase Card Services                             Comenity bank/J Crew
Union                                          Attn: Bankruptcy                                Attn: Bankruptcy
Attn: Bankruptcy                               PO Box 15298                                    PO Box 182125
1001 Lynch St                                  Wilmington, DE 19850                            Columbus, OH 43218
St Louis, MO 63118
      Case 19-40976-elm13 Doc 12 Filed 03/19/19             Entered 03/19/19 17:45:55             Page 18 of 19


                                  UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

  IN RE:   Kaye Yecal Bealer                                               CASE NO.    19-40976-elm-13

                                                                           CHAPTER     13

                                           Certificate of Service
                                           (Continuation Sheet #1)

Comenity Bank/Overstock                Comenitybank/westelm                           Genesis Bc/celtic Bank
Attn: Bankruptcy                       Attn: Bankruptcy Dept                          Attn: Bankruptcy
PO Box 182125                          PO Box 182125                                  268 South State Street Ste 300
Columbus, OH 43218                     Columbus, OH 43218                             Salt Lake City, UT 84111



Comenity Bank/Restoreration Hardware   Compass Bank                                   Haverty's Credit Services
Attn: Bankruptcy                       Attn: Bankruptcy                               Attn: Bankruptcy
PO Box 182125                          PO Box 10566                                   PO Box 5787
Columbus, OH 43218                     Birmingham, AL 35296                           Chattanooga, TN 37406



Comenity Bank/Victoria Secret          Credit One Bank                                Internal Revenue Service
Attn: Bankruptcy                       ATTN: Bankruptcy Department                    Centralized Insolvency Operations
PO Box 182125                          PO Box 98873                                   PO Box 7346
Columbus, OH 43218                     Las Vegas, NV 89193                            Philadelphia, PA 19101-7346



Comenity Bank/Wayfair                  Credit Systems International, Inc              Kaye Yecal Bealer
Attn: Bankruptcy Dept                  Attn: Bankruptcy                               2947 Montalbo
PO Box 182125                          PO Box 1088                                    Grand Prairie, TX 75054
Columbus, OH 43218                     Arlington, TX 76004



Comenity Bank/Woman Within             Discover Financial                             Kohls/Capital One
Attn: Bankruptcy                       PO Box 3025                                    Kohls Credit
PO Box 182125                          New Albany, OH 43054                           PO Box 3120
Columbus, OH 43218                                                                    Milwaukee, WI 53201



Comenity Bank/womnwt                   First Electronic Bank                          Leinart Law Firm
Attn: Bankruptcy                       Attn: Bankruptcy                               11520 N. Central Expressway
PO Box 182125                          PO Box 521271                                  Suite 212
Columbus, OH 43218                     Salt Lake City, UT 84152                       Dallas, Texas 75243



Comenity Bank/Z Gallerie               Fort Worth Community C                         Mercury/FBT
Attn: Bankruptcy                       PO Box 210848                                  Attn: Bankruptcy
PO Box 182125                          Bedford, TX 76095                              PO Box 84064
Columbus, OH 43218                                                                    Columbus, GA 31908
      Case 19-40976-elm13 Doc 12 Filed 03/19/19         Entered 03/19/19 17:45:55         Page 19 of 19


                                 UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION

  IN RE:   Kaye Yecal Bealer                                       CASE NO.    19-40976-elm-13

                                                                   CHAPTER     13

                                        Certificate of Service
                                         (Continuation Sheet #2)

Neighborhood Credit Union            Rushmore Lms                             Texas Trust Credit Uni
Attn: Bankruptcy                     Attn: Bankruptcy                         1900 Country Club Lane
PO Box 803476                        PO Box 52706                             Mansfield, TX 76063
Dallas, TX 75380                     Irvine, CA 92619



Nordstrom FSB                        Synchrony Bank/Amazon                    United Revenue Corp
ATTN: Bankruptcy                     Attn: Bankruptcy                         204 Billings St
PO Box 6555                          PO Box 965060                            Suite 120
Englewood, CO 80155                  Orlando, FL 32896                        Arlington, TX 76010



ollo                                 Synchrony Bank/Care Credit               United States Trustee- Northern District
Attn: Bankruptcy                     Attn: Bankruptcy Dept                    1100 Commerce St, Rm 976
PO Box 9222                          PO Box 965060                            Dallas, TX 75242
Old Bethpage, NY 11804               Orlando, FL 32896



Pam Bassel                           Synchrony Bank/TJX                       Visa Dept Store National Bank/Macy's
7001 Blvd 26, Suite 150              Attn: Bankruptcy                         Attn: Bankruptcy
North Richland Hills, TX 76180       PO Box 965060                            PO Box 8053
                                     Orlando, FL 32896                        Mason, OH 45040



Public Savings Bank                  Synchrony Bank/Walmart                   Wells Fargo Bank
2755 Philmont Ave                    Attn: Bankruptcy                         Attn: Bankruptcy Dept
Huntingdon Valley, PA 19006          PO Box 965060                            PO Box 6429
                                     Orlando, FL 32896                        Greenville, SC 29606



Rosssmns/cbna                        Target                                   Wells Fargo Hm Mortgag
Po Box 6497                          Attn: Bankruptcy                         Po Box 10335
Sioux Falls, SD 57117                PO Box 9475                              Des Moines, IA 50306
                                     Minneapolis, MN 55440



RoundPoint Mortgage Servicing        Tarrant County Tax Assessor
Corporatio                           100 E. Weatherford
Attn: Bankruptcy                     Ft. Worth, TX 76196
PO Box 19409
Charlotte, NC 28219
